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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                    MARTINSBURG


UNITED STATES OF AMERICA,



v.                                                             Criminal No. 3:21-MJ-138-001

JONATHAN TOEBBE,

                               Defendant.

                 UNITED STATES’ MOTION FOR PRETRIAL DETENTION

         The United States moves for pretrial detention of defendant pursuant to 18 U.S.C. Section

3142(e) and (f).

         1.   Eligibility of Case.   This case is eligible for a detention order because the case

involves (check all that apply):

              ____      a crime of violence, a violation of section 1591, or an offense listed in
                        section 2332b(g)(5)(B) for which a maximum term of imprisonment of 10
                        years or more is prescribed;

              ____X     an offense for which the maximum sentence is life imprisonment or death;

              ____      an offense for which a maximum term of imprisonment of ten years or more
                        is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.), the
                        Controlled Substances Import and Export Act (21 U.S.C. 951 et seq.), or
                        chapter 705 of title 46;

              ____      any felony if such person has been convicted of two or more offenses
                        described in subparagraphs (A) through (C) of Title 18 U.S.C. Section
                        3142(f)(1), or two or more State or local offenses that would have been
                        offenses described in subparagraphs (A) through (C) of this paragraph if a
                        circumstance giving rise to Federal jurisdiction had existed, or a
                        combination of such offenses; or

              ______    any felony that is not otherwise a crime of violence that involves a minor

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                      victim or that involves the possession or use of a firearm or destructive
                      device (as those terms are defined in section 921), or any other dangerous
                      weapon, or involves a failure to register under section 2250 of title 18,
                      United States Code;

              _X__ Serious risk defendant will flee; or

              _X__ Serious risk obstruction of justice,

       2.   Reason for Detention.     The court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

                X      Defendant's appearance as required

              _____    Safety of any other person and the community

       3.   Rebuttable Presumption.

       A rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the safety of any other person and the community because:

              ____    a) the defendant has been convicted of a Federal offense that is described in
                      Title 18 U.S.C. Section 3142(f)(1), or of a State or local offense that would
                      have been an offense described in subsection (f)(1) of this section if a
                      circumstance giving rise to Federal jurisdiction had existed; b) the offense
                      was committed while the defendant was on release pending trial for a
                      Federal, State, or local offense; and c) a period of not more than five years
                      has elapsed since the date of conviction, or the release of the defendant from
                      imprisonment, for that offense whichever is later.

       A rebuttable presumption arises that that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community

because the defendant committed:

              ____    an offense for which a maximum term of imprisonment of ten years or more
                      is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.), the
                      Controlled Substances Import and Export Act (21 U.S.C. 951 et seq.), or
                      chapter 705 of title 46;

              ____    an offense under section 924(c), 956(a), or 2332b of this title;

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              ____       an offense listed in section 2332b(g)(5)(B) of title 18, United States Code,
                         for which a maximum term of imprisonment of 10 years or more is
                         prescribed;

              ____       an offense under chapter 77 of this title for which a maximum term of
                         imprisonment of 20 years or more is prescribed; or

              ____       an offense involving a minor victim under section 1201, 1591, 2241, 2242,
                         2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
                         2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422,
                         2423, or 2425 of this title.

       4.   Time for Detention Hearing.         The United States requests the court conduct the

detention hearing

                              At first appearance

                     X        After continuance of      3   days (not more than 3)

       5.     Other Matters:

DATED this 11th day of October, 2021.



                                                        Respectfully submitted,

                                                        UNITED STATES OF AMERICA,
                                                        RANDOLPH J. BERNARD
                                                        ACTING UNITED STATES ATTORNEY

                                                        /s/ Jarod J. Douglas
                                                        Jarod J. Douglas
                                                        Assistant United States Attorney




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